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 7                         UNITED STATES DISTRICT COURT
 8                       FOR THE DISTRICT OF WASHINGTON
 9
     UNITED STATES OF AMERICA                        No. 2:13-CR-140-FVS-2
10
11                      Plaintiff,                 ORDER GRANTING DEFENDANT’S
12                                                 MOTION AND MODIFYING
     vs.                                           CONDITIONS OF RELEASE
13
                                                    ☒     MOTION GRANTED
14 LA LY YANG,
                                                          (ECF No. 111)
15                      Defendant.
16
17         At the July 29, 2014, hearing on Defendant’s Motion Motion to modify and
18   amend this Court’s Order Setting Conditions of Release, the Defendant was
19   present, in custody, with counsel Peter S. Schweda.            The United States was
20   represented by Assistant U.S. Attorney Earl A. Hicks.                 Defendant seeks
21   modification of the amount of cash to be deposited with the Clerk of the Court as a
22   condition of release from $7,500.00 to $2,000.00. The Defendant is unable to raise
23   the amount previously ordered. The United States did not oppose Defendant’s
24   request since the trial in this matter has now been continued to 2015.
25         IT IS ORDERED that Defendant’s Motion, ECF No. 111, is GRANTED.
26   The Order Setting Conditions of Release, ECF NO. 78, is hereby amended so that
27   paragraph 11 shall provide for a $20,000 percentage bond, with a cash deposit of
28   $2,000.00 with the Clerk of the Court, instead of the $75,000.00 percentage bond


     ORDER DENYING THE UNITED STATES MOTION FOR DETENTION - 1
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 1   originally ordered. In addition, Defendant may have contact with her spouse, but
 2   shall not discuss the case.
 3         Except as modified by this Order, the Order Setting Conditions of Release,
 4   ECF No. 78, shall remain the same, in full force and effect.
 5         DATED July 29, 2014.
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 7                                 _____________________________________
                                             JOHN T. RODGERS
 8                                  UNITED STATES MAGISTRATE JUDGE
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     ORDER DENYING THE UNITED STATES MOTION FOR DETENTION - 2
